Case 2:05-Cv-02399-.]PI\/|-tmp Document 3 Filed 08/03/05 Page 1 of 2 Page|D 4

FiLED BY %J____ D.C.
UNITED STATES DISTRICT COURT 3 A“ 83 52
WESTERN DISTRICT oF TENNB§$SYE

WESTERN DIVISION mOWSM. GOULD
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W;g ().*J I>~z.
TANYA BISHOP JUDGMENT IN A cIvIL cAsE

 

VS

NYK LOGISTICS (AMERICAS),
INC. cAsI-: No= 05-2399 Ml/P

 

Upon dismissal by the plaintiff:

IT IS SO ORDERED AN'D ADJUDGED that, in accordance with the
Plaintiff'S Stipulation of Dismissal With Prejudice filed August 2,
2005, this case is DISMISSED with prejudice.

APPROVED :

Qm“OM

JO PHIPPS MCCALLA
ITED STATES DISTRICT COUR'I`

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DateU ' Clerk of Court

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with Ru\e 58 and.'or 79(3) FRCP on

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
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Honorable Jc)n McCalla
US DISTRICT COURT

